      Case 2:12-cr-00016-WFN         ECF No. 312   filed 05/13/13   PageID.912 Page 1 of 1




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 3                         UNITED STATES DISTRICT COURT
 4                      EASTERN DISTRICT OF WASHINGTON
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 6 UNITED STATES OF AMERICA,                          No. CR-12-016-WFN-3
 7                      Plaintiff,
                                                      ORDER GRANTING UNOPPOSED
 8 vs.                                                MOTION TO EXPEDITE AND TO
 9 COREY EDWARD MOBLEY,                               UNOPPOSED MOTION TO
                                                      MODIFY RELEASE CONDITIONS
10                      Defendant.
11         Before the court are Defendant’s unopposed Motion to Modify Release
12   Conditions and Motion to Expedite. ECF 311. Both the United States and Pretrial
13   Services have stated Defendant is in compliance with conditions of release and
14   they have no objection to the requested modification. See ECF No. 310 (minutes
15   from May 10, 2013, status conference.)
16         Accordingly, the court grants both Motions. ECF No. 311. Mr. Mobley is
17   released from the condition of electronic home monitoring or GPS monitoring.
18   The electronic monitoring system in place shall be removed forthwith, provided,
19   however, that Defendant continues to reside at the Bennett residence. All other
20   conditions of release remain.
21         IT IS SO ORDERED.
22         DATED May 13, 2013.
23
24                            S/ CYNTHIA IMBROGNO
                        UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING UNOPPOSED MOTION TO EXPEDITE AND
     UNOPPOSED MOTION TO MODIFY RELEASE CONDITIONS - 1
